                                                                                      Case 2:20-cv-01081-KJD-VCF Document 22 Filed 11/06/20 Page 1 of 2



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                                                                                      Attorneys for Plaintiff Cenegenics, LLC
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                                                                                 10

                                                                                 11                                   UNITED STATES DISTRICT COURT
                                            100 North City Parkway, Suite 1600
                                                Las Vegas, NV 89106-4614




                                                                                 12                                       DISTRICT OF NEVADA
                                                      702.382.2101




                                                                                 13   CENEGENICS, LLC,                                    CASE NO.: 2:20-cv-01081-KJD-VCF

                                                                                 14                      Plaintiff,
                                                                                                                                          STIPULATION AND ORDER TO
                                                                                 15   v.                                                  EXTEND TIME FOR DEFENDANTS
                                                                                                                                          ALUVALIFE, LLC AND JAMES D.
                                                                                 16   ANTI-AGING AND WELLNESS CLINIC,                     RICHIE TO RESPOND TO
                                                                                        aka ANTI-AGING AND WELLNESS,                      COMPLAINT
                                                                                 17     aka ANTI AGING & WELLNESS
                                                                                           CLINIC,                                        (Third Request)
                                                                                 18     aka ANTIAGE AND WELLNESS
                                                                                           CLINIC;
                                                                                 19   ALUVALIFE, LLC,
                                                                                        aka ANTI-AGING AND WELLNESS,
                                                                                 20     aka ANTI-AGING AND WELLNESS
                                                                                           CLINIC,
                                                                                 21     dba ANTI-AGING AND WELLNESS
                                                                                           MEDICAL;
                                                                                 22   ANTI AGING COSTA RICA
                                                                                        aka ANTI-AGING COSTA RICA;
                                                                                 23   JAMES D. RICHIE; and
                                                                                      JOHN DOES 1-10, unidentified individuals
                                                                                 24   and/or entities,

                                                                                 25                      Defendants.

                                                                                 26
                                                                                              Plaintiff Cenegenics, LLC (“Plaintiff”), by and through their counsel Maximilien D. Fetaz
                                                                                 27
                                                                                      with Brownstein Hyatt Farber Schreck, LLP and Matthew Murphey with Murphey & Murphey,
                                                                                 28


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                                                                                      Case 2:20-cv-01081-KJD-VCF Document 22 Filed 11/06/20 Page 2 of 2



                                                                                  1   and Defendants Aluvalife, LLC aka Anti-Aging and Wellness, aka Anti-Aging and Wellness

                                                                                  2   Clinic, dba Anti-Aging and Wellness Medical (collectively, “Aluvalife”) and James D. Richie, by

                                                                                  3   and through their counsel Melanie Hill with Melanie Hill Law PLLC, hereby stipulate and agree

                                                                                  4   to extend Defendant Aluvalife’s deadline to respond to Plaintiff’s Complaint for twenty-one (21)

                                                                                  5   days from November 2, 2020 to November 23, 2020 and further stipulate to extend Defendant

                                                                                  6   James D. Richie’s deadline to respond to Plaintiff’s Complaint for twenty-one (21) days from

                                                                                  7   November 11, 2020 to December 2, 2020.

                                                                                  8            The basis for these extensions is to provide the parties with additional time to resolve

                                                                                  9   Plaintiff’s claims and finalize the partial dismissal of this lawsuit against Aluvalife and James D.
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10   Richie. This is the third stipulation for extension of time for Defendants Aluvalife, LLC and
                                                                                 11   James D. Richie to respond to the Complaint.
                                            100 North City Parkway, Suite 1600
                                                Las Vegas, NV 89106-4614




                                                                                 12           IT IS SO STIPULATED.
                                                      702.382.2101




                                                                                 13   DATED: November 4, 2020                              DATED: November 4, 2020
                                                                                 14   BROWNSTEIN HYATT FARBER                              MELANIE HILL LAW PLLC
                                                                                      SCHRECK, LLP
                                                                                 15

                                                                                 16   /s/ Maximilien D. Fetaz                              /s/ Melanie A. Hill
                                                                                      MAXIMILIEN D. FETAZ, ESQ.                            MELANIE A. HILL, ESQ.
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                                                                                 21   MURPHEY & MURPHEY                                    Aluvalife, LLC, aka Anti-Aging and Wellness,
                                                                                      A PROFESSIONAL CORPORATION                           aka Anti-Aging and Wellness Clinic, dba Anti-
                                                                                 22   120 Vantis Drive, Suite 300                          Aging and Wellness Medical
                                                                                      Aliso Viejo, CA 92656
                                                                                 23
                                                                                      Attorneys for Plaintiff Cenegenics, LLC
                                                                                 24

                                                                                 25                                       IT IS SO ORDERED:
                                                                                 26
                                                                                                                                             ____________________________________
                                                                                 27                                                          UNITED STATES MAGISTRATE JUDGE
                                                                                                                                                       11-6-2020
                                                                                 28                                                          DATED:

                                                                                                                                       2
                                                                                      21829473.1
